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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                    100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                     Filed: March 13, 2025


Mr. Brent E. Siler
Adams & Reese
6075 Poplar Avenue
Suite 700
Memphis, TN 38119

                      Re: Case No. 25-5210, Randi Bruce v. Adam and Reese, LLP
                          Originating Case No. 3:24-cv-00875

Dear Counsel,

   This appeal has been docketed as case number 25-5210 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

   At this stage of the appeal, the following case opening items should be docketed with the
Clerk's office by March 27, 2025. The Disclosure of Corporate Affiliations and Civil Appeal
Statement are now automated entries. Filers may still use the form 6CA-1 and 6CA-53 located
on the Court's website if the automated entries do not provide sufficient space. Additionally, the
transcript order must be completed by that date. For further information and instructions on
ordering transcript electronically, please visit the court's website.

                      Appellant:     Appearance of Counsel
                                     Civil Appeal Statement of Parties & Issues
                                     Disclosure of Corporate Affiliations
                                     Application for Admission to 6th Circuit Bar (if applicable)




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                   Appellee:      Appearance of Counsel
                                  Disclosure of Corporate Affiliations
                                  Application for Admission to 6th Circuit Bar (if applicable)

   If appellant's case opening items are not timely filed or necessary fees paid, the appeal will be
dismissed for want of prosecution. If you have questions after reviewing the rules, please
contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Robin L Baker
                                                  Case Manager
                                                  Direct Dial No. 513-564-7014

cc: Mr. David Blyth Weatherman

Enclosure




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                OFFICIAL COURT OF APPEALS CAPTION FOR 25-5210




RANDI MARIE BRUCE

             Plaintiff - Appellee

v.

ADAM AND REESE, LLP

             Defendant - Appellant




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